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 1                     UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF DELAWARE
 2
     IN RE:                      .       Chapter 11
 3                               .       Case No. 22-10602 (JKS)
     AGWAY FARM & HOME SUPPLY,   .
 4   LLC,                        .       (Jointly Administered)
                                 .
 5                               .       Courtroom No. 6
                                 .       824 Market Street
 6                   Debtors.    .       Wilmington, Delaware 19801
                                 .
 7                               .       Monday, August 28, 2023
     . . . . . . . . . . . . . . .       1:00 p.m.
 8
                             TRANSCRIPT OF HEARING
 9                  BEFORE THE HONORABLE J. KATE STICKLES
                     CHIEF UNITED STATES BANKRUPTCY JUDGE
10
     APPEARANCES:
11
     For the Debtors:            Alan J. Friedman, Esquire
12                               SHULMAN BASTIAN FRIEDMAN & BUI, LLP
                                 100 Spectrum Center Drive, Suite 600
13                               Irvine, California 92618

14                               -and-

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     transcript produced by transcription service.
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 1   APPEARANCES (CONTINUED):

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                                 Office of the United States Trustee
 3                               J. Caleb Boggs Federal Building
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                                 Wilmington, Delaware 19801
 5

 6   For the Committee:          Colin Robinson, Esquire
                                 Pachulski Stang Ziehl & Jones
 7                               919 North Market Street, 17 th Floor
                                 Wilmington, Delaware 19801
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 1            (Proceedings commenced at 1:18 p.m.)

 2                 THE COURT:     Good afternoon.          We’re on the record

 3   in Agway Farm & Home Supply, Case Number 22-10062 [sic].

 4                 MR. FRIEDMAN:     Good afternoon, again, Your Honor.

 5   Alan Friedman --

 6                 THE COURT:     Good afternoon.

 7                 MR. FRIEDMAN:     -- Shulman Bastian Friedman & Bui,

 8   for Agway.      Local counsel, Ms. Keilson and Mr. Waxman, are

 9   also here.

10                 So I’m not sure -- we had uploaded a number of

11   documents, including a proposed form of order and blackline.

12   I’m not sure if Your Honor has had the opportunity to review

13   that.     These are the type of documents that have been agreed

14   to.     There are two -- at least two very minor modifications

15   that are not yet in front of the Court, and I’m happy to let

16   you know what those are because we’ll have to resubmit the

17   order.

18                 THE COURT:     Okay.

19                 MR. FRIEDMAN:     If you go to Docket -- I guess

20   Docket 732, which is the certification of counsel, and then

21   go to -- is it -- do you look at the redline or the clean

22   order, Your Honor?        Which do you --

23                 THE COURT:     Let’s look at the redline.

24                 MR. FRIEDMAN:     Under the redline?           Okay.

25                 THE COURT:     Because I reviewed based on the
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 1   initial pleadings that were filed.

 2                MR. FRIEDMAN:   All right.

 3                THE COURT:   So --

 4                MR. FRIEDMAN:   So, if you go to, and I have to

 5   find my page number here, go to -- it’s Docket 732-2, page 6

 6   of 33.

 7                THE COURT:   Okay.

 8                MR. FRIEDMAN:   And paragraph 8 on the same page.

 9   You there?

10                THE COURT:   Um-hum.

11                MR. FRIEDMAN:   That should read, no later than

12   three business days after entry of this order the balloting

13   agent shall complete.     For some reason that was a vestige of

14   an earlier draft that didn’t get picked up.              The exhibits

15   correctly reflect those all completion dates.

16                THE COURT:   Okay.

17                MR. FRIEDMAN:   The first one didn’t.            The only

18   other change that I’m aware of is if you go to -- again, go

19   to page 16 of 33, same document.

20                THE COURT:   Yes.     I’m there.

21                MR. FRIEDMAN:   That boxed language.            The words

22   that are in blue, in final approval of a disclosure

23   statement, don’t make sense there.          They need to be moved

24   down after the word Plan, the next line down, and final

25   approval of the disclosure statement.              And those are the only
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 1   changes that I’m aware of that need to be made to the

 2   documents as presented -- the documents that are in front of

 3   the Court.

 4                THE COURT:   Okay.     Thank you.

 5                MR. FRIEDMAN:   Does the Court have any questions

 6   about what we’ve submitted in terms of dates, deadlines --

 7                THE COURT:   Well --

 8                MR. FRIEDMAN:   -- procedures?

 9                THE COURT:   -- let me ask, does anybody have any

10   objection or want to be heard with respect to this motion?

11                Mr. Robinson?

12                MR. ROBINSON:   Good afternoon, Your Honor.           Colin

13   Robinson, Pachulski Stang Ziehl & Jones, on behalf of the

14   Committee.

15                Your Honor, very briefly, we -- as you saw, it’s a

16   joint conditional disclosure statement plan.             The Committee

17   supports it and we just want to get it moving so we can get

18   to the next state of the case, Your Honor.             And those minor

19   changes we are aware of and they’re fine.

20                We appreciate the debtor’s efforts to work through

21   comments both the Committee as a whole and some individual

22   members had.   Mr. Poppiti’s client provided comments, which

23   we appreciated, and got those in there.            So -- and, of

24   course, last but not least, Mr. Schepacarter’s office, of the

25   United States Trustee.
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 1               So, Your Honor, we’re ready to go today, unless

 2   Your Honor has any questions.

 3               THE COURT:    Okay.     Mr. Schepacarter?

 4               MR. SCHEPACARTER:       Thank you, Your Honor.              For the

 5   record, Richard Schepacarter, United States Trustee.

 6               Just to add a couple things.           I think we’ve worked

 7   out a number of issues, some of what -- some of the things I

 8   can call nits [indiscernible].         Some of them are more

 9   substantive issues.

10               Again, to appreciate the work of Ms. Sarkessian,

11   from our office, who handled a lot on the [indiscernible].

12               Having said that, there may be some issues, and

13   I’m going to just reserve all my rights for confirmation.                     I

14   think everything’s going to work out, but we review so many

15   plans and disclosure statements on a -- literally on a daily

16   basis that I cannot remember one from the other.                  So,

17   although that’s probably not an acceptable excuse in most

18   instances, under the circumstances, that’s what I’m going to

19   -- that’s all I have, quite frankly.

20               So I don’t think -- like I said, I don’t think

21   there’s going to be any issues but, you know, we will see and

22   I’m sure we will work them out with counsel.             We’ve been able

23   to do that throughout the case, so I don’t see that -- that

24   an issue.

25               THE COURT:    Okay.
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 1               MR. SCHEPACARTER:       Thank you, Your Honor.

 2               THE COURT:    Thank you.       And, of course, all rights

 3   are reserved --

 4               MR. SCHEPACARTER:       Exactly.

 5               THE COURT:    -- for confirmation.           Does anyone else

 6   wish to be heard?

 7      (No verbal response)

 8               Okay.    I have some comments with respect to the

 9   proposed order, but before I do that, does any -- is there

10   any presentation with respect to the motion or -- go ahead.

11               MR. FRIEDMAN:    At least -- Your Honor, I’m happy

12   to walk through it, and I apologize.           I haven’t been in front

13   of Your Honor on this type of motion.              Normally, I -- when

14   I’ve been in front of the other judges, they’ve read

15   everything and if they have questions about the order, that’s

16   usually how I proceed --

17               THE COURT:    Okay.

18               MR. FRIEDMAN:    -- but I’m happy to do whatever the

19   Court wishes here.

20               THE COURT:    Okay.     Well, I’m happy to proceed

21   forward.   I didn’t want to truncate and not give you a chance

22   to talk about it if you wanted.

23               MR. FRIEDMAN:    No.     After the last hearing, I

24   think brevity would be -- we’re good to move it along.

25               THE COURT:    Okay.     Well, I have some questions
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 1   about the proposed form of order and, candidly, you may have

 2   addressed some of these in the revisions, but I’m not sure

 3   whether they were or not, so if you could just bear with me.

 4                 In paragraph (C) of the proposed --

 5                 MR. FRIEDMAN:   Your Honor, are we going -- I going

 6   to apologize.     Are we going through the redlining or are we

 7   going through --

 8                 THE COURT:   Yes.

 9                 MR. FRIEDMAN:   Okay.

10                 THE COURT:   In paragraph (C) of the proposed

11   order, which is page 3 of 33, in Docket Number 732-2, the

12   content of the solicitation package is only going to the

13   general unsecured creditors, right?           It’s not going to equity

14   holders?

15                 MR. FRIEDMAN:   It’s not going to who?              I’m sorry.

16                 THE COURT:   It’s not going to interests -- parties

17   with interest in the debtor; it’s only going to claimholders,

18   right?     I just want to clarify that I understand your

19   solicitation and plan correctly.

20                 MR. FRIEDMAN:   I believe that’s right.              I believe

21   because they’re -- the interest holders are not voting, so

22   they’re getting a different package.

23                 THE COURT:   Right.     Okay.    I just -- it references

24   the content of a solicitation package and the last line

25   references interest holders and so I didn’t know if that was
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 1   just an over-generalization or, in this particular case,

 2   there was a disconnect between the plan and the solicitation.

 3              MR. FRIEDMAN:        I mean it’s certainly a

 4   generalization.     The interest holders of the debtor are aware

 5   of everything that’s going on in the case and so I think it

 6   would be fair to say they are aware of what’s in the

 7   solicitation package.

 8              THE COURT:     Okay.        I had a comment about a Rule

 9   3018 deadline, but I understand it’s been revised to include

10   that, correct?

11              MR. FRIEDMAN:        Yes.

12              THE COURT:     Okay.

13              MR. FRIEDMAN:        We have.     I’m just finding it in

14   the redline.     But, yes, there was a change related to the

15   Rule 3018 deadline.

16              THE COURT:     Okay.        I’m curious, and this is a nit

17   on my part, but on page 2, it says, the Court hereby finds as

18   follows, and then on page 4, it says, it hereby -- it is

19   hereby found and determined.        Isn’t it just ordered?

20              MR. FRIEDMAN:        That’s fine, Your Honor.          Yes,

21   that’s right.     You’re right.

22              THE COURT:     And this is also a nit, but paragraph

23   8 that refers to the solicitation package --

24              MR. FRIEDMAN:        Yes.

25              THE COURT:     -- there seems to be a discrepancy
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 1   between the motion and the order, and maybe you’ve picked up

 2   on that.     They -- one calls it solicitation materials; one

 3   calls it solicitation packages, and it’s used inconsistently

 4   in the order as well, I believe.         I would probably just refer

 5   to it as the same name as the motion.

 6                 MR. FRIEDMAN:     Okay.

 7                 THE COURT:   Is -- I appreciate that, in paragraph

 8   8, romanette -- or F was deleted because the Court doesn’t

 9   approve the actual letter that’s sent out by the Committee,

10   but is the Committee sending a letter?

11                 MR. FRIEDMAN:     Your Honor, the Committee is not

12   going to be sending a letter because we’re filing a joint

13   plan with the debtor and we think that was sufficient enough

14   to --

15                 THE COURT:   Okay.

16                 MR. FRIEDMAN:     -- voice the Committee’s support

17   for the plan.

18                 THE COURT:   Okay.    Understood.      I had a question

19   about paragraph 11.     I want to make sure it’s the same

20   paragraph.

21                 The plan supplement, is the only purpose of the

22   plan supplement to disclose the name and compensation of the

23   plan administrator?

24                 MR. FRIEDMAN:     That’s -- yes, Your Honor.

25                 THE COURT:   That’s it?
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 1               MR. FRIEDMAN:       That’s it.

 2               THE COURT:   Okay.      Bear with me a second.            On the

 3   hearing notice, and this is really a question for the United

 4   States Trustee, the releases by the debtor language is

 5   included but the definitions are not, and it specifically

 6   says the definitions aren’t included.             Is there a reason the

 7   U.S. Trustee’s Office isn’t requiring the debtors to include

 8   the definition?

 9               MR. SCHEPACARTER:       I am not sure -- for the

10   record, Richard Schepacarter.        I am not sure why that is.              As

11   I said, I didn’t handle that part of it.

12               THE COURT:   Okay.      Well --

13               MR. SCHEPACARTER:       But I can say that, since Ms.

14   Sarkessian signed off on it, I would trust her with my life,

15   so to speak, with respect to plans and disclosure statements.

16   So there may be a reason why that occurred, so -- unless

17   counsel knows.    If counsel knows, then (indiscernible).

18               MR. FRIEDMAN:       Your Honor, it’s actually not as it

19   seems.   That language says definitions not included above,

20   that’s a reference to the inclusion of the effective date

21   down below, I believe, as I read that, and I have to go --

22   everything -- I don’t -- yeah, right here.             See?    That

23   references that we included that because it wasn’t -- it was

24   a defined term that wasn’t otherwise embedded up above.

25               THE COURT:   Well --
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 1              MR. SCHEPACARTER:        Was Your Honor’s question that

 2   released -- was it the definition of released parties or --

 3              MR. FRIEDMAN:        Because released parties is a

 4   defined term.

 5              THE COURT:    Is defined within it.

 6              MR. FRIEDMAN:        It’s defined in the body.

 7              MR. SCHEPACARTER:        Right.

 8              THE COURT:    Yeah.

 9              MR. FRIEND:     I think we included the effective

10   date definition down below because it wasn’t otherwise

11   included in the body of the -- of that -- of the whole

12   released language.    That’s why that language is there.          Now I

13   understand the Court’s confusion for that.

14              THE COURT:    Yeah.      I am confused by that because I

15   did see that released parties was defined within the content

16   of the release language.

17              MR. FRIEDMAN:        Right, in the body.

18              THE COURT:    And --

19              MR. FRIEDMAN:        But, for example, we -- for

20   whatever reason, we included -- we must’ve used an effective

21   date and then --

22              THE COURT:    You -- it does.          It’s --

23              MR. FRIEDMAN:        Then that’s why we defined it down

24   below because it -- it was obviously defined earlier in the

25   plan but it wasn’t included in the --
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 1                 THE COURT:   So maybe you should just drop a

 2   footnote for -- under effective date.             It’s --

 3                 MR. FRIEDMAN:     All right.

 4                 THE COURT:   Because I think that would be less

 5   confusing.

 6                 MR. FRIEDMAN:     Understood.       If Your Honor is

 7   confused, everyone is going to be confused and --

 8                 THE COURT:   All right.     Well --

 9                 MR. FRIEDMAN:     -- that’s fine.       We’ll make that

10   change.

11                 THE COURT:   -- maybe not, but.         And then I had a

12   question with the Class 3 Ballot, and bear with me because I

13   want to make sure it reads the same.

14                 So Class 3 gets the ballot.          They get the entire

15   solicitation package, and paragraph 1 of the ballot says a

16   copy of the solicitation procedures order is available on the

17   Bankruptcy Court website or -- yeah.          And my question is

18   this.     A copy of the order is going out with this ballot, is

19   it not?     That’s part of the solicitation package?

20                 MR. FRIEDMAN:     Yes it is.

21                 THE COURT:   So I -- (A) I don’t know if you need

22   this language, or if you just want to say it’s contained in

23   this package or is also available, but --

24                 MR. SCHEPACARTER:     I think we want to -- again,

25   Richard Schepacarter.      I think we want to say that it’s
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 1   available.   Like you can get the copy of the paper, but if

 2   you don’t feel like reading the paper, you can see that it’s

 3   at a website somewhere or --

 4                THE COURT:    Okay.

 5                MR. SCHEPACARTER:     -- it’s online.       So there’s

 6   more -- there’s like a multiple access --

 7                THE COURT:    Okay.

 8                MR. SCHEPACARTER:     You know, sometimes they send a

 9   little -- those little -- I forget what they call them,

10   little --

11                THE COURT:    Thumb drives.     We try --

12                MR. SCHEPACARTER:     Thumb drive.      They send them

13   along with it sometimes, so you get that and you can put that

14   in your computer.     I don’t know how that works -- frankly

15   works, but you can use that somehow, you know.            But even I

16   could probably get on a website.

17                THE COURT:    Okay.   All right.      I understand your

18   position then.

19                MR. WAXMAN:    Judge, just to be clear, this is for

20   an electronic version, which makes it easier and, from my

21   experience, also significantly increases the number of

22   ballots that are returned.

23                THE COURT:    Okay.   All right.      Those are the only

24   questions that I had on the proposed form of order.              So if

25   you revise it and upload it with a clean and blackline, we’ll
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 1   get it entered.

 2              MR. SCHEPACARTER:        Perfect.

 3              THE COURT:    Okay?

 4              MR. FRIEDMAN:        We will endeavor to get that done.

 5              THE COURT:    Is there anything further for today?

 6              MR. FRIEDMAN:        Not from the debtor, Your Honor.

 7              THE COURT:    Okay.      Good.    Thank you all very much.

 8              MR. FRIEDMAN:        Thank you, Your Honor.

 9              THE COURT:    We stand adjourned.

10              MR. SCHEPACARTER:        Thank you, Your Honor.

11              THE COURT:    Have a good afternoon.

12         (Proceedings concluded at 1:33 p.m.)

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 1                              CERTIFICATION

 2              I certify that the foregoing is a correct

 3   transcript from the electronic sound recording of the

 4   proceedings in the above-entitled matter to the best of my

 5   knowledge and ability.

 6

 7   /s/ Tammy L. Kelly                                   September 5, 2023

 8   Tammy L. Kelly

 9   Court Transcriptionist For Reliable

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